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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ALTHEA PETERS,

       Plaintiff,

VS.                                            CIVIL ACTION NO.:

JASON HOGENCAMP,                               ______________________
BRENNTAG MID-SOUTH, INC.,
AND ACE AMERICAN
INSURANCE COMPANY

       Defendant(s).

                        COMPLAINT FOR DAMAGES

      COMES NOW, the Plaintiff, Althea Peters, by and through undersigned

counsel of record, and files this Complaint for Damages and respectfully shows:

                         VENUE AND JURISDICTION

                                              1.

      Althea Peters is a citizen and resident of the State of Wisconsin.

                                              2.

      Jason Hogencamp is a citizen and resident of the State of Texas.




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                                              3.

      Brenntag Mid-South, Inc.’s principal place of business is in the State of

Kentucky.

                                              4.

      Ace American Insurance Company’s principal place of business is in the

State of Pennsylvania.

                                              5.

      The incident which forms the basis of the Complaint occurred in Fulton

County, Georgia.

                                              6.

      There is complete diversity among the parties.

                                              7.

      The amount in controversy exceeds $75,000.00.

                                              8.

      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332.

                                              9.

      This venue is proper pursuant to 28 U.S.C. § 1391 (b)(2).




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               GENERAL FACTS COMMON TO ALL COUNTS

                                            10.

      Althea Peters hereby incorporates all previous paragraphs of this Complaint

for Damages.

                                            11.

      On or about August 14, 2020, at approximately 8:00 am, on Womack

Avenue at or near Main Street, in East Point, Georgia (Fulton County), Jason

Hogencamp was operating a vehicle; specifically, a 2014 Freightliner

Conventional Classic 120.

                                            12.

      At all times relevant to this Complaint for Damages, the 2014 Freightliner

Conventional Classic 120 operated by Jason Hogencamp was and is owned by

Brenntag Mid-South, Inc.

                                            13.

      At all times relevant to this Complaint for Damages, the 2014 Freightliner

Conventional Classic 120. operated by Jason Hogencamp was and is insured by

ACE American Insurance Company.




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                                               14.

      At the same time and location pled in this Complaint for Damages, Althea

Peters was traveling in a vehicle.

                                               15.

      At all times relevant to this Complaint for Damages, Althea Peters’ vehicle

was being operated reasonably and prudently.

                                               16.

      At the same time and location pled in this Complaint for Damages,

Defendant Jason Hogencamp:

      a.       failed to obey a traffic control device, in violation of O.C.G.A. § 40-6-
               20;
      b.       failed to maintain lane, in violation of O.C.G.A. § 40-6-48;
      c.       followed more closely than is reasonable or prudent, in violation of
               O.C.G.A. § 40-6-49;
      d.       failed to yield the right of way to the Plaintiff, in violation of
               O.C.G.A. § 40-6-71;
      e.       failed to make a proper stop, in violation of O.C.G.A. § 40-6-72;
      f.       failed to properly signal Defendant’s maneuver, in violation of
               O.C.G.A. § 40-6-124;
      g.       operated a vehicle with a reckless disregard for the safety of persons
               or property, in violation of O.C.G.A. § 40-6-390;
      h.       failed to obey the Uniform Rules of the Road of the State of Georgia;
               or,
      i.       operated Defendant’s vehicle in a fashion that was not reasonable or
               prudent under the circumstances.




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                                                17.

         The conditions pled in this Complaint for Damages actually and proximately

caused a collision wherein the vehicle being operated by Jason Hogencamp

unlawfully struck the vehicle in which Althea Peters was traveling.

                                                18.

         As a proximate and foreseeable result of the collision, Althea Peters suffered

serious injuries.

                                                19.

         As a proximate and foreseeable result of these injuries, Althea Peters has

incurred medical expenses in excess of $168,897.34 and lost wages in excess of

$1.00.

                                                20.

         As a proximate and foreseeable result of the collision, Althea Peters, in

addition to the damages pled in this Complaint for Damages, has and will endure

pain and suffering.

            COUNT I: NEGLIGENCE AS TO JASON HOGENCAMP

                                                21.

         Althea Peters hereby incorporates all previous paragraphs of this Complaint

for Damages.

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                                             22.

      Jason Hogencamp has and had a duty to operate Defendant’s vehicle in a

reasonable and prudent fashion.

                                             23.

      Jason Hogencamp breached the aforementioned duty on or about August 14,

2020 by operating a vehicle in the fashion pled in this Complaint for Damages.

                                             24.

      Jason Hogencamp’s breach of duty actually and proximately caused the

injuries pled by plaintiff in this Complaint for Damages.

                                             25.

      As a reasonable and foreseeable result of Jason Hogencamp’s breach of

duty, Althea Peters has incurred damages as pled in this Complaint for Damages.

                                             26.

      Althea Peters has a cause of action against Jason Hogencamp for negligence.

                                             27.

      Althea Peters is entitled to recover from Jason Hogencamp for damages as

pled in this Complaint for Damages.




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  COUNT II: NEGLIGENT HIRING AND RETENTION OF AN UNSAFE
        EMPLOYEE AS TO BRENNTAG MID-SOUTH, INC.

                                              28.

      Althea Peters hereby incorporates all previous paragraphs of this Complaint

for Damages.

                                              29.

      Brenntag Mid-South, Inc. is required under Federal and State law to

investigate into the knowledge, experience, and past safety record of all of its

employees who operate motor vehicles as employees and/or agents of Brenntag

Mid-South, Inc.

                                              30.

      Brenntag Mid-South, Inc. failed to follow the Federal and State regulations

regarding the hiring and retention of employee and/or agent Jason Hogencamp.

                                              31.

      Due to this failure, a collision occurred between Brenntag Mid-South, Inc.’s

employee, Jason Hogencamp, and Althea Peters.

                                              32.

      As a proximate and foreseeable result of the Defendant Brenntag Mid-South,

Inc.’s breach of duty, Althea Peters sustained injuries as pled in this Complaint for

Damages.
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                                             33.

      As a proximate and foreseeable result of Althea Peters’ injuries, Althea

Peters has incurred damages as pled in this Complaint for Damages.

                                             34.

      Althea Peters has a cause of action against Brenntag Mid-South, Inc. for

negligent hiring and retention of an unsafe employee.

                                             35.

      Althea Peters is entitled to recover from Brenntag Mid-South, Inc. for

damages as pled in this Complaint for Damages.

  COUNT III: NEGLIGENT ENTRUSTMENT AS TO BRENNTAG MID-
                        SOUTH, INC.

                                             36.

      Althea Peters hereby incorporates all previous paragraphs of this Complaint

for Damages.

                                             37.

      Brenntag Mid-South, Inc., on or before August 14, 2020, had actual

knowledge that Jason Hogencamp lacked the ability to safely operate a 2014

Freightliner Conventional Classic 120.




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                                             38.

      As a result of the aforementioned knowledge, Brenntag Mid-South, Inc. had

a duty not to entrust a 2014 Freightliner Conventional Classic 120 to Jason

Hogencamp.

                                             39.

      On or before August 14, 2020, Brenntag Mid-South, Inc. breached the

aforementioned duty by entrusting a 2014 Freightliner Conventional Classic 120 to

Jason Hogencamp.

                                             40.

      As a proximate and foreseeable result of the Brenntag Mid-South, Inc.’s

breach of duty, Althea Peters sustained injuries as pled in this Complaint for

Damages.

                                             41.

      As a proximate and foreseeable result of Althea Peters’ injuries, Althea

Peters has incurred damages as pled in this Complaint for Damages.

                                             42.

       Althea Peters has a cause of action against Brenntag Mid-South, Inc. for

negligent entrustment.




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                                             43.

      Althea Peters is entitled to recover from Brenntag Mid-South, Inc. for

damages as pled in this Complaint for Damages, including punitive damages.

  COUNT IV: NEGLIGENT MAINTENANCE AS TO BRENNTAG MID-
                       SOUTH, INC.

                                             44.

      Althea Peters hereby incorporates all previous paragraphs of this Complaint.

                                             45.

      Brenntag Mid-South, Inc., at all times relevant to this Complaint for

Damages, had and has a duty to keep its 2014 Freightliner Conventional Classic

120 in good working order and good repair.

                                             46.

      On or before August 14, 2020, Brenntag Mid-South, Inc. breached the

aforementioned duty by failing to perform regular maintenance inspections as

required under State and Federal law.

                                             47.

      As a proximate and foreseeable result of the Brenntag Mid-South, Inc.’s

breach of duty, Althea Peters sustained injuries as pled in this Complaint for

Damages.



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                                            48.

      As a proximate and foreseeable result of Althea Peters’ injuries, Althea

Peters has incurred damages as pled in this Complaint for Damages.

                                            49.

       Althea Peters has a cause of action against Defendant Brenntag Mid-South,

Inc. for negligence.

                                            50.

      Alethea Peters is entitled to recover from Brenntag Mid-South, Inc. for

Damages as pled in this Complaint for Damages.

 COUNT V: REPONDEAT SUPERIOR AS TO BRENNTAG MID-SOUTH,
                         INC.

                                            51.

      Alethea Peters hereby incorporates all previous paragraphs of this

Complaint.

                                            52.

      Jason Hogencamp at all times relevant to this Complaint for Damages is or

was the employee and/or agent of Brenntag Mid-South, Inc.

                                            53.

      At all times relevant to this Complaint, Jason Hogencamp was acting within

the scope of his employment or agency relationship with Brenntag Mid-South, Inc.
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                                            54.

      Brenntag Mid-South, Inc. is liable to Althea Peters for all damages sustained

as a result of the negligence of Jason Hogencamp under a theory of respondeat

superior.

                                            55.

      Althea Peters is entitled to recover from Defendant Brenntag Mid-South,

Inc. for Damages as pled in this Complaint for Damages.

      COUNT VI: LIABILITY AS TO ACE AMERICAN INSURANCE
                           COMPANY

                                            56.

      Althea Peters hereby incorporates all previous paragraphs of this Complaint

for Damages.

                                            57.

      Brenntag Mid-South, Inc. is a common carrier under Federal Law and

Georgia law.

                                            58.

      ACE American Insurance Company, is the insurance provider for Brenntag

Mid-South, Inc.




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                                             59.

      As the insurance provider for Brenntag Mid-South, Inc., ACE American

Insurance Company is directly actionable by Althea Peters for the damages

sustained in the incident which gives rise to this Complaint for Damages.

                                             60.

      Althea Peters is entitled to recover from Defendant ACE American

Insurance Company, for the negligence of Brenntag Mid-South, Inc. and Jason

Hogencamp.

                                             61.

      Althea Peters is entitled to recover from ACE American Insurance Company

for damages as pled in this Complaint for Damages.

WHEREFORE, the Plaintiff prays that:

      a.     Summons be issued as to the Defendant(s);
      b.     that the Defendant(s) be called to answer this Complaint for Damages;
      c.     that a trial be held on all issues so triable;
      d.     that a Judgment be entered against the Defendant for all the Plaintiff’s
             specific damages including past and future medical expenses and past
             and future lost wages, if applicable;
      e.     that said Judgment include an award of attorneys’ fees and costs for
             the Defendant(s)’ bad faith, stubborn litigiousness, and causing the
             Plaintiff unnecessary time and expense pursuant to O.C.G.A. § 13-6-
             11;
      f.     that said Judgment include a sum to compensate the Plaintiff for
             general damages in an amount to be determined by the enlightened
             conscience of a fair and impartial jury; and,
      g.     such further relief as this Court determines is adequate and just.
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Executed today, July 8, 2022.
                                                      DOZIER LAW FIRM, LLC




                                                      ___________________________
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